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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
REPUBLICAN NATIONAL                            )
COMMITTEE,                                     )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )       Case No. 1:22-cv-00659-TJK
                                               )
NANCY PELOSI, et al.,                          )
                                               )
                Defendants.                    )
                                               )


               DECLARATION OF CHRISTIAN SCHAEFFER IN SUPPORT
              OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
       I, Christian Schaeffer, hereby declare as follows under the penalty of perjury.

       1.       The following statements are based on my personal knowledge, and if called to

testify I could swear competently thereto.

       2.       I am over 18 years of age and of sound mind.

       3.       I am a citizen of the United States.

       4.       I attended The George Washington University in Washington, D.C. where I

studied Political Communication and Political Science.

       5.       I am the Chief Digital Officer (“CDO”) for the Republican National Committee

(“RNC”), a position I have held since February of 2021. In this role, I am responsible for

developing and executing RNC digital strategy and operations, including messaging, fundraising,

and related data management. Before assuming my current role, I was the Digital Political

Director from February 2019 to January 2021. Prior to the RNC, I worked as a digital political

consultant for a leading vendor in the political digital communications industry for

approximately two and a half years.
       6.       I have read and am familiar with the subpoena issued by the U.S. House Select

Committee to Investigate the January 6th Attack on the U.S. Capitol (“Select Committee”) to
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Salesforce (“Salesforce Subpoena”). A true and correct copy of the Salesforce Subpoena is

attached as Exhibit A to this Declaration.

       7.       As CDO, I am deeply familiar with the services Salesforce provides to the RNC,

as well as the nature and breadth of the data metrics and analytics likely to be produced if

Salesforce discloses the RNC records demanded in the Salesforce Subpoena. In addition, I am

familiar with the RNC’s overall activities that took place during the range of dates for which the

subpoena demands materials, and the RNC’s political digital fundraising strategy in general.

       8.       The RNC is the national party committee of the Republican Party. It is an
unincorporated organization registered with the Federal Election Commission pursuant to 52

U.S.C. § 30101(14).

       9.       The RNC communicates digitally with tens of millions of individuals each month.

The vast majority of these communications occur over email.

       10.      The RNC exists to advance the Republican Party and its electoral prospects. It

conducts party business, builds party infrastructure, supports Republican candidates and state

parties, advances Republican policy goals, and raises funds to support these efforts.

       11.      Digital communication is a critical component of the RNC’s ability to conduct

political activities. The RNC relies upon its ability to interact virtually with millions of

Americans through email and other digital media to recruit volunteers, persuade voters to support

Republican candidates and policies, encourage voting through its “get out the vote” (“GOTV”)

activities, convey political messaging, and raise funds. The RNC routinely engages such

individuals with fundraising appeals, surveys, petition requests, and other messaging in

furtherance of its political mission. In recent years, the RNC has come to increasingly rely on

digital efforts for its fundraising and to reach its voters more effectively.

       12.      I have reviewed the Salesforce Subpoena. Item one of the Salesforce Subpoena

would require Salesforce to produce, for the period of November 3, 2020 to January 6, 2021,

“[a]ll performance metrics and analytics related to email campaigns by or on behalf of...the

Republican National Committee (‘RNC), or the Trump Make America Great Again Committee

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(‘TMAGAC’), including but not limited to delivery metrics (send rates and bounce rates),

engagement metrics (opens, open rates, clicks, click rates, and click-to-open rates), time

attributes, and message attributes.” Item two of the Salesforce Subpoena further demands that

Salesforce produce “[a]ll records related to login sessions by individuals associated with ... the

RNC ... into Salesforce’s Marketing Cloud platform, including all related metadata.”

       13.     TMAGAC is a Joint Fundraising Committee (“JFC”) registered with the Federal

Election Commission. Although the JFC is no longer active, the RNC is a member of TMAGAC

and co-owns any TMAGAC data that Salesforce might produce in response to the Select
Committee’s Subpoena.

       14.     Salesforce is a key data and digital communications vendor to the RNC. The

Salesforce platforms utilized by the RNC are an integral part of the RNC’s political operation.

These platforms assist the RNC in its core political functions such a recruiting volunteers,

conveying political messaging in support of the RNC’s preferred candidates and policies, GOTV

efforts, and fundraising.

       15.     I would estimate that Salesforce houses data and records for tens of millions of

RNC supporters, donors, and others with whom we communicate. Based on the breadth of the

Salesforce Subpoena’s request, Salesforce’s disclosure could result in information for many, if

not, most of those individuals.

       16.     The RNC uses three platforms provided by Salesforce. The RNC uses the “Sales

Cloud,” “Marketing Cloud,” and “Datorama” platforms. Sales Cloud is the RNC’s Customer

Relationship Management (“CRM”) platform and maintains all RNC data regarding private

individuals with whom the RNC has interacted through its digital communications and those

interactions (“user record data”). The Marketing Cloud serves as the RNC’s email service

provider (“ESP”), through which data flows in execution of RNC email sends. Datorama ingests,

standardizes, and visualizes RNC data across several digital platforms, including ESPs,

advertising platforms, and e-commerce platforms. Data from all three of these platforms is



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implicated by item one of the Salesforce Subpoena because each platform contains its own

unique sets of data and analytics.

       17.     The RNC maintains enormous quantities of highly granular data across the

Salesforce platforms, including data related to RNC supporters and other private individuals with

whom it has engaged through digital communication. This includes, but is not limited to, the

following:

               a.       All email addresses acquired by the RNC, including volunteers, voter

       registration engagement, GOTV prospects, both low and high dollar donors, merchandise
       purchasers, and coalition signups;

               b.       Information on every donation a donor has made, including the amount

       and date, and the contributor’s name, address, and employer, regardless of the size of the

       contribution, and including millions of “small dollar” donors, whose names are not

       disclosed publicly with the Federal Election Commission because their total contribution

       amount does not meet the $200 reporting threshold for itemization;

               c.       All data on how individuals have interacted with specific email content,

       such as whether and at what time they opened specific emails or how they interacted with

       those emails, such as by clicking through to surveys, petitions, fundraising, or other

       landing pages;

               d.       All data for every user submission, including how individuals responded

       to specific surveys and petitions, and engaged in GOTV actions on RNC’s Vote. GOP

       website such as whether they used the website to look up their voter registration status,

       registered to vote, looked up their voting location, or requested an absentee ballot;

               e.       Data regarding individuals’ volunteer activities, such as phone banking,

       and events individuals have attended;

               f.       All Urchin Tracking Module (UTM) tracking data, which identify each

       specific communication from which an individual clicked through to get to a specific

       fundraising or other landing page. To illustrate, if multiple RNC emails included links to

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       a particular fundraising page, UTM data would show which specific email the user had

       interacted with prior to clicking through to that page;

               g.      All data regarding specific individuals’ respective donor status as a

       member of RNC’s email and text message lists, including how the RNC segmented them

       into specific audiences for targeted communication purposes;

               h.      All data regarding each individual’s account history, including personally-

       identifiable changes made to personal addresses and other user attributes;

               i.      RNC voter file data for millions of individuals, including specific
       individuals’ voter histories;

               j.      All “email send” data, to include information regarding total numbers of

       emails sent, bounce rates, open rates, clicks per email, audience segmentation for email

       targeting purposes, and content associated with each email; and

               k.      All “send list” data, derived from the data above by the RNC and

       Salesforce to segment audiences for the purpose of targeting specific emails.

       18.     The production of the RNC’s data and analytics hosted on these platforms would

cause significant harm to the RNC’s operations and to its voters and supporters. The data and

analytics hosted by Salesforce across the three platforms can be used to create a mosaic of the

RNC’s confidential, and highly sought after, digital political strategies. Likewise, the data and

analytics can be used to create a mosaic of the RNC’s supporters’ intimate political activities and

beliefs that are commonly known to result in reprisals and harassment.

       19.     Based on my knowledge from working in political messaging and monitoring the

political landscape, in today’s political climate, there are numerous examples of economic

reprisals, harassment, and violence for the expression of political speech. The release of the

information demanded by the subpoena pulls back the veil of privacy of individuals who have

shared information with the RNC. For example, using the information that the subpoena

demands, the government and public would be able to determine an individual’s position on

controversial issues and candidates they support by examining how they responded to specific

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RNC communications including surveys, petitions, and fundraising appeals. Further, the data

also reveal volunteer activities (including time spent phone banking), membership in coalitions,

and events attended.

       20.     Based on my experience, the individuals with whom we engage highly value their

privacy and have general concerns regarding their political activities being publicized. I believe

this stems from a general culture where individuals who express conservative and Republican

views are attacked and vilified. When information of this type is revealed publicly, individuals

have been subject to reprisals and harassment.
       21.     During the timeframe for which the Salesforce Subpoena demands documents, the

RNC was engaged in political operations that were separate and apart from the 2020 Presidential

Election. For instance, during this time, the RNC engaged in extensive political activity in

connection with the two 2021 U.S. Senate Runoff Elections in Georgia, in which the RNC was

heavily invested because their outcome determined party control of the Senate. The RNC was

also engaged in extensive political activity for the 2020 Presidential Election that was unrelated

to any post-election activities such as litigation and recounts and fundraising to support those

efforts. For example, the Select Committee’s requests cover communications made on Election

Day, November 3, and the RNC was heavily engaged in digital GOTV efforts that day. If it

complies with the subpoena, Salesforce likely would produce materials concerning these

unrelated activities as well.

       22.     Production of these sensitive and proprietary data, from over a two-month period

and without any limitation to the events of January 6, would provide the Select Committee with

unprecedented access to the RNC’s political decision-making and the private, personal

information of millions of Americans who have affiliated or communicated with the RNC that

would give an unfair competitive advantage to its political opponents.

       23.     The Republican and Democratic parties are highly competitive with one another

in reaching their supporters through digital communications. It is common knowledge in our

industry that each side monitors the other’s public digital fundraising efforts to identify, learn

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from, and emulate the other’s strategies. For example, Democratic Party operatives commonly

sign up for or opt in to receive RNC digital communications.

        24.     Based upon my personal knowledge of digital political strategy and the RNC’s

digital operations in particular, production of the materials as demanded by the subpoena would

significantly harm the RNC by providing its political opponents and fundraising competitors

with unfettered access to competitive and highly confidential information regarding RNC digital,

political, and fundraising strategy, as well as personal information relating to millions of its

supporters. This is true for the release of both any aggregate-level data and individual records.
Further, not only would the production of this information bolster the RNC’s political opponents,

it would also harm the RNC’s competitive advantage over other groups that compete to target

similar demographics in conveying political messaging and fundraising. This subpoena is the

political equivalent of industrial espionage, conducted by the political party currently in power

against the political party which currently is not.

        25.     The information demanded by the subpoena would divulge to the RNC’s political

opponents and competitors crucial elements of the RNC’s digital strategy such as metrics on how

certain content performs, what subject lines and text messages lead to contributions, how certain

individuals respond to specific content, and the results of A/B testing. Based upon my personal

knowledge of digital political strategy, this information would be invaluable to political

opponents and competitors in shaping their own political strategy and harm the RNC’s digital

efforts significantly.

        26.     It also is my belief, based upon my personal knowledge of the types of data at

issue and my experience in digital communication, that Salesforce’s production of granular data

regarding private individuals’ interactions with RNC digital communications unquestionably

would harm the RNC’s ability to engage with its supporters. Republicans will be much less

likely, for instance, to respond to an RNC survey regarding a controversial policy topic if they

believe their response and other personal information will be handed over to the public, and



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